Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 1 of 14 PageID 770




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

 IN THE MATTER OF THE APPLICATION OF
 GALINA WEBER,

                Petitioner,

 vs.                                                      Case No. 3:07-mc-27-J-32MCR

 FOR DISCOVERY FROM LAZAR S. FINKER,
 an individual, RAISSA M. FRENKEL, an
 individual, STEVEN CHARLES KOEGLER, an
 individual, WILLIAM E. CHATTIN, an
 individual, THEODOROS J. KAVALIEROS, an
 individual, AFRODITI KAVALIEROS, an
 individual, and IGOR V. MAKAROV, an
 individual,

            Respondents.
 _____________________________________/

                           REPORT AND RECOMMENDATION1

        THIS CAUSE is before the Court on Petitioner’s Amended Petition for Discovery

 in Aid of Foreign Proceedings (Doc. 37).2 On August 2, 2007, Judge Morris recused

 himself from this case (Doc. 29) and on October 3, 2007, the undersigned conducted a

 hearing regarding the Petition for Discovery.




        1
           Any party may file and serve specific, written objections hereto within TEN (10) DAYS
 after service of this Report and Recommendation. Failure to do so shall bar the party from a de
 novo determination by a district judge of an issue covered herein and from attacking factual findings
 on appeal. See 28 U.S.C. §636(b)(1); Fed.R.Civ.P. 72(a), 6(a) and (e); Local Rules 6.02(a) and
 4.20, United States District Court for the Middle District of Florida.
        2
          On October 3, 2007, the Court denied Respondents’ Motion to Strike (Doc. 9) portions of
 the original Petition as moot as Petitioner agreed to file an Amended Petition without the
 objectionable portions and exhibits.

                                                  -1-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 2 of 14 PageID 771




                                     I. BACKGROUND

        On April 27, 2007, Petitioner filed a Petition for Discovery in Aid of Foreign

 Proceedings pursuant to 28 U.S.C. §1742(a). (Doc. 1). Petitioner, Galina Weber, is a

 citizen of Switzerland and a resident of Monaco. She is a shareholder of Itera Group,

 Ltd., a Cypriot corporation. Intera Group is a large company with many subsidiaries

 throughout the world. The Respondents are also shareholders of Itera Group and all

 except for Igor Makarov (“Makarov”), reside in Jacksonville, Florida. Makarov is the

 CEO of Itera Group and resides in Moscow, Russia.3 Petitioner seeks discovery to

 assist her in two pending cases in foreign countries: a civil case in Cyprus and a

 criminal case against her in Switzerland.

 A. The Cyprus case:

        This civil lawsuit was filed by Petitioner against Itera Group, Makarov and Sweet

 Water Intervest Corporation (a British Virgin Islands corporation that Petitioner claims is

 associated with Makarov). The case claims that Makarov offered to buy Petitioner’s

 14% interest in Itera Group but failed to complete the transaction believing he could get

 her to sell the shares for less money. (Doc. 37, pp. 5-6). When Petitioner refused the

 subsequent offers, Itera Group’s Board of Directors voted to increase the number of

 authorized shares in Itera Group by six million shares, thereby diluting Petitioner’s entire

 ownership interest from 14% to 4%. (Doc. 37, p.7). Petitioner claims that the other



        3
           During the October 3, 2007 hearing, counsel for Respondents indicated that any
 responsive documents for Makarov would be located in either Moscow, Russia or Lemassol,
 Cyprus. Based on this representation, counsel for Petitioner agreed to dismiss Makarov without
 prejudice from the Petition. Accordingly, the Court will not address the parties’ arguments
 regarding whether the Court has jurisdiction over Mr. Makarov.

                                              -2-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 3 of 14 PageID 772




 shareholders were able to acquire additional shares because they received money from

 Itera Group or an affiliated company that Petitioner did not. (Doc. 37, p.7; Ex. A, p.3)

 B. The Swiss case:

        In the Fall of 2006, criminal charges were filed against Petitioner in Switzerland

 for allegedly embezzling Itera Group assets. The criminal charges were filed by Gas

 Itera, an Intera Group subsidiary, which claimed Petitioner, her husband and brother-in-

 law purchased real property belonging to Itera Group by offsetting the purchase price

 against a nonexistent debt Itera Group owed Petitioner. (Doc. 10, pp. 6-7). Petitioner’s

 defense is that Itera Group owed her $4.8 million in unpaid dividends. Under Swiss law,

 offsetting a debt in such a situation is a complete defense to embezzlement.

        Specifically, Petitioner claims that in January 2005, the Itera Group Board of

 Directors approved payment of dividends to its shareholders in the amount of $80

 million to be dispersed in two tranches of $40 million each. (Doc. 37, p.5). In March

 2005, the first payment (or tranche) was made and all shareholders, including

 Petitioner, received a proportionate share of the dividend based on his/her ownership

 interest. Id. The distribution of the second tranche did not go as smoothly. According

 to Petitioner, the Itera Group Board of Directors approved the distribution of the second

 tranche at the May 28, 2005 meeting. (Doc. 37, p.6). However, Petitioner did not

 receive her full portion of the second tranche. She received an amount equal to 2.5%

 ownership in Itera Group rather than the 14.5% ownership she claims she had. Id. The

 unpaid 12% would have been equal to $4.8 million. (Doc. 37, p.7). Petitioner claims

 the Florida Shareholders (the Respondents), on the other hand, received the full

 amount of their second tranche. She claims they devised a scheme to avoid taxes on

                                             -3-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 4 of 14 PageID 773




 the second tranche whereby Itera Group paid these shareholders their share of the

 second tranche through a shell company in the form of a loan, rather than as a dividend,

 which would be taxable. (Doc. 37, p.6).

       Petitioner now seeks to obtain discovery from the Respondents for use in both

 the Switzerland criminal case and the Cypress civil action pursuant to 28 U.S.C.

 §1782(a), which permits a district court in which a person resides or may be found to

 order that person to produce documents for use in a proceeding in a foreign country.

 Respondents object to the discovery on numerous grounds.

                                      II. ANALYSIS

       Because this request for discovery involves two separate cases, the Court will

 analyze each case individually to determine whether to permit the discovery for either or

 both cases.

 A.    The Swiss case

       With respect to the Swiss case, Respondents take the position that Petitioner’s

 request for discovery should be denied because the request for information is governed

 not by §1782(a), but rather by the United States - Swiss Mutual Assistance Treaty (the

 “Swiss Treaty”). Additionally, Respondents argue that if the discovery for the Swiss

 case is appropriate pursuant to §1782(a), the Court should recognize that the Swiss

 case is a criminal proceeding and apply the Federal Rules of Criminal Procedure rather

 than the Federal Rules of Civil Procedure. The Court will examine these arguments and

 determine whether to permit discovery for use in the Swiss case.




                                            -4-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 5 of 14 PageID 774




        1.     Whether the Swiss Treaty Controls

        The Court will first determine whether 28 U.S.C. §1782(a) applies as Petitioner

 urges or whether the request for discovery is governed by the Swiss Treaty as

 Respondents contend. Respondents argue the Swiss Treaty takes precedence over

 §1782(a) because it was enacted after the last amendment of §1782(a). (Doc. 10,

 p.13). Petitioner responds that the Swiss Treaty and §1782(a) are not inconsistent and

 therefore, the Swiss Treaty does not preempt §1782(a). (Doc. 16, p.7). Moreover,

 Petitioner argues that even using Respondents’ logic, the Treaty would not trump

 §1782(a) because §1782(a) was amended after the enactment of the Treaty in 1996.

 (Doc. 16, p.8).

        The Court agrees with Petitioner that in this case, §1782(a) would apply. As both

 sides correctly note, the Swiss Treaty takes precedence over an inconsistent law.

 However, Respondents have pointed to no inconsistencies between §1782(a) and the

 Swiss Treaty. Indeed, “[t]he court must read [1782(a)] as consistent with the [Swiss]

 Treaty if at all possible.” In re Request From Swiss Federal Dept. of Justice and Police,

 731 F. Supp. 490, 491 (S.D. Fla.1990) (citing United States v. Lee Yen Tai, 185 U.S.

 213, 221-22, 22 S.Ct. 629 (1902) and United States v. Vetco, Inc., 691 F.2d 1281, 1286

 (9th Cir. 1981)). Accordingly, the Court finds the Swiss Treaty does not preempt §1782

 in this case. Therefore, Petitioner is not required to seek the documents pursuant to the

 Swiss Treaty but may avail herself of §1782(a).




                                            -5-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 6 of 14 PageID 775




         2.    Whether Petitioner Satisfies the Requirements of 28 U.S.C. § 1782(a)

         Having determined it was proper for Petitioner to seek the documents pursuant to

 §1782(a), the Court must now determine whether Petitioner satisfies the requirements

 of §1782(a) with respect to the Swiss case. 28 U.S.C. §1782(a) provides in relevant

 part:

               The district court of the district in which a person resides or
               is found may order him to give his testimony or statement or
               to produce a document or other thing for use in a proceeding
               in a foreign or international tribunal, including criminal
               investigations conducted before formal accusation. The
               order may be made pursuant to a letter rogatory issued, or
               request made, by a foreign or international tribunal or upon
               the application of any interested person and may direct that
               the testimony or statement be given, or the document or
               other thing be produced, before a person appointed by the
               court. . . . The order may prescribe the practice and
               procedure, which may be in whole or part the practice and
               procedure of the foreign country or the international tribunal,
               for taking the testimony or statement or producing the
               document or other thing. To the extent that the order does
               not prescribe otherwise, the testimony or statement shall be
               taken, and the document or other thing produced, in
               accordance with the Federal Rules of Civil Procedure.

 Plaintiff argues she is entitled to the documents from Respondents because she

 satisfies all the statutory requirements under §1782(a). There are four statutory

 requirements which must be satisfied in order to obtain discovery pursuant to §1782(a):

 (1) the request must be made by an “interested person,” (2) the request must seek

 evidence, such as the production of “a document or other thing,” (3) the evidence must

 be “for use in a proceeding in a foreign or international tribunal,” and (4) the person from

 whom discovery is sought must reside or be found in the district of the district court

 ruling on the application for assistance. In re Clerici, 481 F.3d 1324, 1331-32 (11th Cir.

                                             -6-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 7 of 14 PageID 776




 2007). Petitioner claims she satisfies each of these requirements. Petitioner is an

 interested person as she is one of the defendants in the Swiss case. Additionally,

 Petitioner seeks the production of documents which will aid her defense in the Swiss

 case and the persons from whom she seeks the documents reside or may be found in

 Jacksonville.

       Respondents do not take issue with the first two requirements, that Petitioner is

 an interested person and that she is seeking evidence. Furthermore, as Petitioner

 dropped Makarov from the Petition, there is no longer any dispute regarding the final

 requirement: that the remaining Respondents reside in the Middle District of Florida.

 Instead, Respondents take the position that Petitioner does not need the documents for

 her Swiss case because Petitioner and her co-defendants have claimed to be in

 possession of documents supporting the sale of Itera Group property and the second

 tranche. (Doc. 10, p.7). Respondents argue that if Petitioner and her co-defendants

 would produce these documents, the Swiss criminal charges against them would be

 dropped. Id. During the October 3, 2007 hearing, counsel for Petitioner denied that his

 client had any such documents and assured the Court that if she did, she would not be

 seeking the documents from Respondents. The Court does not find Respondents’

 assertions that Petitioner already has all the documents she needs for the Swiss case to

 be sufficient to foreclose the requested discovery.

       Accordingly, Petitioner satisfies the requirements of §1782(a). Even though the

 Court may find the statutory requirements of §1782(a) have been satisfied, the Court is

 not required to allow the discovery. Instead, the Court is required to consider several


                                             -7-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 8 of 14 PageID 777




 factors and exercise its discretion as to whether to permit the discovery. In re Clerici,

 481 F.3d at 1334 (citing, Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241,

 264, 124 S.Ct. 2466, 2482-83 (2004)). In the Intel case, the Supreme Court discussed

 several “factors that bear consideration” by a district court “in ruling on a §1782(a)

 request.” Intel, 542 U.S. at 263, 124 S.Ct. at 2483. These factors are:

               (1) whether “the person from whom discovery is sought is a
               participant in the foreign proceeding,” because “the need for
               §1782(a) aid generally is not as apparent as it ordinarily is
               when evidence is sought from a nonparticipant”; (2) “the
               nature of the foreign tribunal, the character of the
               proceedings underway abroad, and the receptivity of the
               foreign government or the court or agency abroad to U.S.
               federal-court judicial assistance”; (3) “whether the §1782(a)
               request conceals an attempt to circumvent foreign
               proof-gathering restrictions or other policies of a foreign
               country or the United States”; and (4) whether the request is
               otherwise “unduly intrusive or burdensome.”

 In re Clerici, 481 F.3d at 1334 (quoting, Intel, 542 U.S. at 264-65, 124 S.Ct. at 2483).

 Respondents argue that all but the first factor weigh against permitting the discovery.

 With respect to the second factor, “the nature of the foreign tribunal, the character of the

 proceedings underway abroad, and the receptivity of the foreign government or the

 court or agency abroad to U.S. federal-court judicial assistance,” Respondents have

 submitted an affidavit from the attorney representing Gas Itera in the Swiss matter,

 Christof Muller. (Doc. 22). Mr. Muller states:

               I have a good faith, legally sustainable opinion, that the
               honorable Swiss Judge, Mrs. Tatjana Heller, in her function
               as Investigative Magistrate will rule any documents disclosed
               as a result of this US-Discovery to be inadmissible in the
               Swiss criminal-case.



                                              -8-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 9 of 14 PageID 778




 (Doc. 22, p. 12). Mr. Muller based this statement on his understanding of the Swiss

 Treaty. Id. In response to this affidavit, Petitioner filed an affidavit from Petitioner’s

 attorney in the Swiss case, Dr. Stephan Thurnherr. (Doc. 23). Dr. Thurnherr stated that

 he spoke with the Investigative Magistrate who:

               firmly confirmed that she would review and consider any
               evidence produced from the Respondents in this American
               proceeding, as such evidence is clearly prescribed by art. 29
               par. 2 of the Swiss Constitution (Bundesverfassung) and the
               St. Gallen Rules of Criminal Procedure . . .

 (Doc. 23, p.9). Dr. Thurnherr also stated that the Magistrate “reiterated that it

 remain[ed] her discretion what weight to give the documents produced by the

 Respondents; however, she clearly would review and consider them.” Id. The Court is

 presented with conflicting affidavits and does not intend to “try to glean the accepted

 practices and attitudes of other nations from . . . conflicting and, perhaps, biased

 interpretations of foreign law.” Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1099

 (2nd Cir. 1995). Instead, the Court’s inquiry into the foreign tribunal’s attitudes toward

 discovery from the United States should be based only on “authoritative proof that a

 foreign tribunal would reject evidence obtained with the aid of section 1782.” Id. at

 1100. In the instant case, there is no such “authoritative proof” that the Swiss

 Magistrate would be unreceptive to any relevant evidence uncovered through the

 discovery here. Accordingly, the Court finds there is no reason for the second factor to

 weigh against permitting the discovery.

        As for the third factor, “whether the §1782(a) request conceals an attempt to

 circumvent foreign proof-gathering restrictions or other policies of a foreign country or


                                               -9-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 10 of 14 PageID 779




 the United States,” Respondents argue that Petitioner’s failure to attempt to obtain any

 documents through the Swiss discovery process indicates Petitioner may be attempting

 to circumvent Swiss proof-gathering restrictions or other policies. However, as

 Petitioner points out, she is not required to exhaust all Swiss discovery avenues before

 seeking discovery through §1782(a). Euromepa, 51 F.3d at 1098 (noting that there is

 no “quasi-exhaustion requirement” in §1782 “that would force litigants to seek

 ‘information through the foreign or international tribunal’ before requesting discovery

 from the district court.”) (quoting, In re Malev Hungarian Airlines, 964 F.2d 97, 100 (2nd

 Cir. 1992), cert. denied, 506 U.S. 861, 113 S.Ct. 179 (1992)). In Euromepa, the court

 reversed a district court’s denial of a §1782 petition partly on the grounds that the

 petitioner failed to attempt to obtain documents through French mechanisms before

 applying to the U.S. court. Euromepa, 51 F.3d at 1098. The district court recognized

 that there was no exhaustion requirement in §1782 but still considered the failure to

 attempt to obtain the documents in France as bearing on whether the French court

 would be receptive to the documents. Id. The circuit court found this inappropriate.

 Likewise, in the instant case, the Court does not believe Petitioner’s failure to obtain

 documents using the Swiss methods indicates an attempt to circumvent Swiss proof-

 gathering restrictions or other policies. Respondents do not point to any such

 restrictions or policies. As such, the Court finds no reason for the third factor to weigh

 against permitting the discovery.

        Finally, with respect to the fourth factor, whether the request is otherwise “unduly

 intrusive or burdensome,” the Court agrees the discovery requests may be overly broad



                                             -10-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 11 of 14 PageID 780




 and therefore, may need to be more narrowly tailored, however, Respondents have not

 convinced the Court that the requests are so unduly intrusive or burdensome to deny

 the discovery altogether. Instead, the Court believes it can address the over breadth or

 intrusiveness of the discovery requests when it rules on Petitioner’s Motion to Compel

 (Doc. 2). Accordingly, the Court believes the discovery pursuant to §1782 should be

 permitted. After Judge Corrigan rules on the instant Report and Recommendation, the

 undersigned will consider the Motion to Compel (Doc. 2) and will determine if and/or

 how the discovery may need to be trimmed.

        3.     Whether the Federal Rules of Civil or Criminal Procedure Apply

        Next, the Court must determine whether Petitioner’s discovery requests should

 be governed by the Federal Rules of Civil Procedure or as Respondents argue, the

 Federal Rules of Criminal Procedure. Respondents take the position that because the

 Swiss case is a criminal matter, any discovery sought by Petitioner pursuant to

 §1782(a) should be governed by the Federal Rules of Criminal Procedure, which

 contain limitations on pretrial discovery. (Doc. 10, pp. 14-18). Respondents do not cite

 any authority for their proposition and the Court was unable to find any cases in which

 the Federal Rules of Criminal Procedure were applied to a discovery request pursuant

 to §1782(a). Although the Court finds Respondents’ argument logical, the Court

 ultimately finds it to be without merit.

        Indeed, in Application of Sumar, 123 F.R.D. 467, 469-70 (S.D.N.Y. 1988), the

 respondents asked the court to apply the Federal Rules of Criminal Procedure to

 petitioner's efforts to compel discovery under Section 1782 because of the criminal



                                            -11-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 12 of 14 PageID 781




 nature of the foreign proceeding. The court declined, stating, “[t]he criminal nature of

 the Argentine investigation does not change the explicit direction of Section 1782 . . .

 The Federal Rules of Civil Procedure will be applied to petitioner's motion to compel.”

 Id. (citing, In re Request for International Judicial Assistance from Brazil, 687 F.Supp.

 880, 887 (S.D.N.Y. 1988) (reversed on other grounds)). In the Brazil case, the court

 determined that a subpoena for documents in a Brazilian criminal matter issued

 pursuant to §1782(a) would be governed by the Federal Rules of Civil Procedure. The

 court noted that §1782 speaks “generally in terms of the district court's discretion,” but

 essentially gives the district court two sources to determine the procedures governing

 the discovery: “the practice and procedure of the foreign country, or the Federal Rules

 of Civil Procedure.” Id. The statute says nothing about the Federal Rules of Criminal

 Procedure and as this Court is unaware of the procedures of the Swiss court for

 producing documents, this Court believes it is appropriate to utilize the Federal Rules of

 Civil Procedure for the production of any documents.

        Moreover, the Court agrees with Petitioner’s argument that as pointed out in the

 Clerici case, §1782(a) “refers to the Federal Rules, not for whether the district court can

 order [the respondent] to give any testimony, but only for the procedures or manner in

 which that testimony is to be taken.” In re Clerici, 481 F.3d at 1336. In this case, the

 Respondents are not arguing that the Federal Rules of Criminal Procedure would

 require Petitioner to follow a different sort of procedure in order to obtain the

 documents. Instead, Respondents argue that the Federal Rules of Criminal Procedure

 would require the Petitioner to make a stronger showing before being able to obtain the



                                              -12-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 13 of 14 PageID 782




 discovery from Respondents. Pursuant to the Clerici case, this argument is without

 merit.

          Accordingly, the undersigned believes Petitioner is entitled to serve the discovery

 requests upon the Respondents pursuant to §1782(a) for use in the Swiss case.

  B.      The Cyprus Case

          With respect to the Cyprus case, now that Makarov is no longer subject to the

 discovery requests, Respondents’ arguments against the discovery in the Cyprus case

 are much more limited. Respondents argue that discovery pursuant to §1782(a) is

 inappropriate because Petitioner has not attempted to obtain the documents in Cyprus,

 thereby raising an inference that Petitioner is attempting to “circumvent foreign proof-

 gathering restrictions or other policies of [Cyprus].” (Doc. 10, p.18). Additionally,

 Respondents contend that the requests are overly broad and unduly burdensome.

 (Doc. 10, pp.18-20).

          Petitioner satisfies the four statutory requirements pursuant to §1782(a),

 however, the Court must again review the Intel factors to determine whether it should

 exercise its discretion to permit the discovery in the Cyprus case. As noted above,

 Respondents only raise issues with the third and fourth Intel factors. As with the Swiss

 case and for the same reasons, the Court finds neither of these factors weighs against

 permitting the discovery. There is not sufficient evidence to believe Petitioner is trying

 to circumvent any Cypriot proof-gathering restrictions or other policies. Additionally, to

 the extent the discovery requests may be intrusive, burdensome or overly broad, the

 Court will address same in its ruling on Petitioner’s Motion to Compel (Doc. 2). As such,



                                              -13-
Case 3:07-mc-00027-TJC-MCR Document 38 Filed 10/11/07 Page 14 of 14 PageID 783




 the Court finds discovery pursuant to §1782(a) is appropriate for the Cyprus case as

 well.

         Accordingly, and after due consideration, it is

         RECOMMENDED:

         The Amended Petition for Discovery in Aid of Foreign Proceedings (Doc. 37) be

 GRANTED.



         DONE AND ENTERED in Chambers in Jacksonville, Florida this 11th day of

 October, 2007.




                                                           MONTE C. RICHARDSON
                                                    UNITED STATES MAGISTRATE JUDGE
 Copies to:

 Timothy J. Corrigan,
   United States District Judge,

 Counsel of Record




                                             -14-
